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  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


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NO. 02-10-00326-CV

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  Vincent Paul Perez
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Esperanza Isabel Perez
  
  
  &nbsp;
  
  
  APPELLEE
  
 


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FROM THE 360th District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On
May 10, 2011, we notified appellant that his brief had not been filed as
required by Texas Rule of Appellate Procedure 38.6(a).&nbsp; See Tex. R.
App. P. 38.6(a).&nbsp; We stated we could dismiss the appeal for want of
prosecution unless appellant or any party desiring to continue this appeal
filed with the court within ten days a response showing grounds for continuing
the appeal.&nbsp; See Tex. R. App. P. 42.3.&nbsp; We have not received
any response.

Because
appellant's brief has not been filed, we dismiss the appeal for want of
prosecution.&nbsp; See Tex. R. App. P. 38.8(a), 42.3(b), 43.2(f).

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PER CURIAM

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PANEL:&nbsp;
MEIER, J.; LIVINGSTON, C.J.; and GABRIEL, J.&nbsp; 

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DELIVERED:&nbsp;
June 2, 2011














[1]See Tex. R. App. P. 47.4.









